Case 5:24-cv-00768-JKP-HJB Document 3 Filed 07/15/24 Pade 1of1

UNITED STATES DISTRICT COURT

PHILIP J. DEVLIN WESTERN DISTRICT OF TEXAS
CLERK OF COURT 262 W. Nueva St., Suite 1-400
San Antonio, Texas 78207

July 15, 2024

Mark Anthony Ortega
P.O. Box 702099
San Antonio, TX 78270

RE: Case #5:24-cv-00768-JKP
Dear Mr. Ortega:

Your Complaint was filed in our office on 7/11/2024 and assigned
number. Please reference this case number on all future documents submitted
above case number. Please be advised you must keep the court informed of yout
throughout the pendency of your case. Failure to do so may result in dismissal
want of prosecution.

Sincerely,

By dg
Deputy 6Clerk

ANNETTE
FRENCH
CHIEF DEPUTY

the above case
for filing in the
- current address
of your case for

